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     a.k.a. Stormy Daniels a.k.a. Peggy Peterson
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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   STEPHANIE CLIFFORD a.k.a.                     CASE NO.: 2:18-cv-02217-SJO-FFM
     STORMY DANIELS a.k.a. PEGGY
12   PETERSON, an individual,
                                                   PLAINTIFF STEPHANIE
13                      Plaintiff,                 CLIFFORD’S EVIDENTIARY
14                                                 OBJECTIONS TO THE
           vs.
                                                   SUPPLEMENTAL DECLARATION
15                                                 OF BRENT H. BLAKELY IN
     DONALD J. TRUMP a.k.a. DAVID                  SUPPORT OF JOINT EX PARTE
16   DENNISON, and individual,
     ESSENTIAL CONSULTANTS, LLC, a                 APPLICATION OF DEFENDANTS
17   Delaware Limited Liability Company,           ESSENTIAL CONSULTANTS, LLC,
     MICHAEL COHEN and DOES 1                      DONALD J. TRUMP AND
18   through 10, inclusive,
                                                   MICHAEL COHEN FOR A STAY
19                                                 OF THIS ACTION
                        Defendants.
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        EVIDENTIARY OBJECTIONS TO THE SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
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 1          Plaintiff Stephanie Clifford hereby objects to the Supplemental Declaration of Brent
 2   H. Blakely.
 3        OBJECTIONS TO THE SUPPLEMENTAL DECLARATION OF BRENT H.
 4                                             BLAKELY
 5

 6                 Citation                               Objection                 Ruling
 7 1. Paragraph 3 (portion):                   This statement lacks foundation Sustained: __
      “As was widely reported, I can           and is speculation. Fed. R. Evid. Overruled:__
 8    confirm that on April 9, 2018, the       602. It is also inadmissible
 9    Federal Bureau of Investigation          hearsay to the extent it relies on
      (“FBI”) raided Mr. Cohen’s               the matter being “widely
10    residence, office and hotel room,        reported” or on the CNN article
11    located in New York.”                    attached as Exhibit A. Fed. R.
                                               Evid. 801-802.
12

13        Paragraph 3 (portion):               This statement lacks foundation Sustained: __
     2.
          “In the course of this raid, the     and is speculation. Fed. R. Evid. Overruled:__
14        FBI sought documents in Mr.          602.    It is also inadmissible
15        Cohen’s possession relating to       hearsay to the extent it relies on
          several topics, including the        the matter being “widely
16        payment of $130,000 to Plaintiff     reported” or on the CNN article
17        Stephanie Clifford (‘Plaintiff’),    attached as Exhibit A. Fed. R.
          which is at issue in this action.”   Evid. 801-802.
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19        Paragraph 3 (portion):               This statement lacks foundation Sustained: __
     3.
          “Accordingly,       the  ongoing     and is speculation. Fed. R. Evid. Overruled:__
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          criminal investigation involves      602. It is also inadmissible
21        facts that overlap with the facts    hearsay to the extent it relies on
          alleged in this case.”               the matter being “widely
22
                                               reported” or on the CNN article
23                                             attached as Exhibit A. Fed. R.
                                               Evid. 801-802. It is also
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                                               argument, not fact. See Fed. R.
25                                             Evid. 701.
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          EVIDENTIARY OBJECTIONS TO THE SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
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 1        Paragraph 3 (portion):             Exhibit A is inadmissible Sustained: __
     4.
          “Attached hereto as Exhibit A is hearsay. Fed. R. Evid. 801-802. Overruled:__
 2        a true and correct copy of the
 3        article entitled, ‘DOJ: Michael
          Cohen         under       criminal
 4        investigation,’     which     was
 5        published by CNN on or about
          April 13, 2018, at the following
 6        URL: https://www.cnn.com/2018
 7        /04/13/politics/michael-cohen-
          hearing-fbi-raid/index.html.”
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     Dated: April 17, 2018               AVENATTI & ASSOCIATES, APC

11
                                         By:          /s/ Michael J. Avenatti
                                               Michael J. Avenatti
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                                               Attorneys for Plaintiff Stephanie Clifford
                                               a.k.a. Stormy Daniels a.k.a. Peggy Peterson
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          EVIDENTIARY OBJECTIONS TO THE SUPPLEMENTAL DECLARATION OF BRENT H. BLAKELY
